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5    Attorneys for Defendants
     ONLINENIC, INC. and DOMAIN ID SHEILD SERVICE
6    CO., LIMITED
7

8                                        UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11   FACEBOOK, INC. and INSTAGRAM,                     Case No. 19-CV-07071-SVK
     LLC
12                                                     ANSWER
                       Plaintiffs,
13           v.
14
     ONLINENIC, INC. and DOMAIN ID
15   SHIELD SERVICE CO., LIMITED.

16                    Defendants.

17

18
             Defendants OnlineNIC, Inc. (“OnlineNIC”) and Domain ID Shield Service Co., Limited
19
     (“ID Shield”) (together, the “Defendants”) hereby answer the Complaint by Facebook, Inc. and
20
     Instagram, LLC (together, the “Plaintiffs”) and assert affirmative defenses as follows:
21

22           1.       Defendants lack knowledge or information sufficient to form a belief as to the truth
23   of the allegations set forth in Paragraph 1.
24           2.       Defendants lack knowledge or information sufficient to form a belief as to the truth
25   of the allegations set forth in Paragraph 2.
26           3.       Admitted that OnlineNIC is an ICANN-accredited domain name registrar; the
27   remaining allegations are denied.
28           4.       Denied.
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1            5.       Denied.

2            6.       The allegations in Paragraph 6 are characterizations of the Complaint, which speaks

3    for itself, and accordingly no response is required.

4            7.       Admitted.

5            8.       Admitted.

6            9.       The allegations of the last sentence are admitted; the remainder is denied.

7            10.      Denied that “ID Shield is OnlineNIC’s domain name privacy service”; the

8    remaining allegations are admitted.

9            11.      Denied.

10           12.      Defendants lack knowledge or information sufficient to form a belief as to the truth

11   of the allegations set forth in Paragraph 12.

12           13.      Admitted.

13           14.      Denied.

14           15.      Denied.

15           16.      Denied.

16           17.      Denied.

17           18.      The allegations of Paragraph 18 are legal conclusions to which no response is

18   required.

19           19.      Admitted.

20           20.      Defendants lack knowledge or information sufficient to form a belief as to the truth

21   of the allegations set forth in Paragraph 20.

22           21.      Defendants lack knowledge or information sufficient to form a belief as to the truth

23   of the allegations set forth in Paragraph 21.

24           22.      Defendants lack knowledge or information sufficient to form a belief as to the truth

25   of the allegations set forth in Paragraph 22.

26           23.      Admitted.

27           24.      Defendants lack knowledge or information sufficient to form a belief as to the truth

28   of the allegations set forth in Paragraph 24.
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1              25.    Defendants lack knowledge or information sufficient to form a belief as to the truth

2    of the allegations set forth in Paragraph 25.

3              26.    Defendants lack knowledge or information sufficient to form a belief as to the truth

4    of the allegations set forth in Paragraph 26.

5              27.    Admitted.

6              28.    Admitted.

7              29.    Admitted that Exhibit 5 is a genuine screen capture as alleged; the remaining

8    allegations are denied.

9              30.    Admitted.

10             31.    Admitted.

11             32.    Denied.

12             33.    Admitted.

13             34.    Admitted that Exhibit 10 states the information as alleged; the remaining allegations

14   are denied.

15             35.    Admitted.

16             36.    Denied.

17             37.    Denied.

18             38.    Admitted.

19             39.    Denied.

20             40.    Denied.

21             41.    Denied.

22             42.    The allegations in the second sentence are admitted; the remaining allegations are

23   denied.

24             43.    Admitted.

25             44.    Admitted.

26             45.    Admitted that OnlineNIC has been named in administrative complaints; the

27   remaining allegations are denied.

28             46.    Denied.
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1            47.      Denied.

2            48.      Denied.

3            49.      Denied.

4            50.      Denied.

5            51.      Denied.

6            52.      Exhibit 4 speaks for itself, and no further response is necessary.

7            53.      Denied.

8            54.      Denied.

9            55.      Defendants lack knowledge or information sufficient to form a belief as to the truth

10   of the allegations set forth in Paragraph 55.

11           56.      Defendants lack knowledge or information sufficient to form a belief as to the truth

12   of the allegations set forth in Paragraph 56.

13           57.      Defendants lack knowledge or information sufficient to form a belief as to the truth

14   of the allegations set forth in Paragraph 57.

15           58.      Defendants incorporate by reference their responses as set forth above.

16           59.      Denied.

17           60.      Denied.

18           61.      Denied.

19           62.      Denied.

20           63.      Admitted.

21           64.      Admitted.

22           65.      Admitted.

23           66.      Denied.

24           67.      Denied.

25           68.      Denied.

26           69.      Denied.

27           70.      Denied.

28           71.      Denied.
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1            72.      Defendants incorporate by reference their responses as set forth above.

2            73.      Denied.

3            74.      Denied.

4            75.      Denied.

5            76.      Denied.

6            77.      Denied.

7            78.      Denied.

8            79.      Denied.

9            80.      Denied.

10           81.      Denied.

11           82.      Defendants incorporate by reference their responses as set forth above.

12           83.      Denied.

13           84.      Denied.

14           85.      Denied.

15           86.      Denied.

16           87.      Denied.

17           88.      Denied.

18           89.      Denied.

19           90.      Denied.

20           91.      Denied.

21           92.      Denied.

22           93.      Defendants incorporate by reference their responses as set forth above.

23           94.      Denied.

24           95.      Denied.

25           96.      Denied.

26           97.      Denied.

27           98.      Denied.

28           99.      Denied.
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1            100.     Denied.

2            101.     Denied.
                                         AFFIRMATIVE DEFENSES
3

4            Defendants assert the following defenses and reserve the right to assert additional defenses

5    upon discovery of relevant facts.

6                                                 First Defense
7            Plaintiffs are not entitled to any of the relief requested because this Court lacks personal

8    jurisdiction over the Defendants.

9                                                Second Defense
10           Plaintiffs’ Complaint fails to state claims upon which relief may be granted.

11                                               Third Defense
12           Plaintiffs’ claims are barred in whole or in part because there is no trademark infringement.

13                                               Fourth Defense
14           Plaintiffs’ claims are barred in whole or in part because Plaintiffs have not suffered any

15   injury caused by Defendants.

16                                                Fifth Defense
17           Plaintiffs’ claims are barred in whole or in part by the doctrine of unclean hands.

18                                                Sixth Defense
19           Plaintiffs’ claims are barred by the doctrines of laches and/or estoppel.

20                                              Seventh Defense
21           Plaintiffs’ claims are barred in whole or in part because Defendants lacked the requisite

22   knowledge or intent.

23                                               Eighth Defense
24           Plaintiffs’ claims are barred in whole or in part because Defendants’ alleged conduct was

25   not willful.

26                                                Ninth Defense
27           Plaintiffs’ claims are barred in whole or part by the principle of territoriality.

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2                                   DEFENDANTS’ PRAYER FOR RELIEF
3            WHEREFORE, Defendants request that the Court enter judgement:

4            a.       dismissing all of Plaintiffs’ claims in the Complaint with prejudice in favor of

5                     Defendants;

6            b.       that Plaintiffs are not entitled to any damages or equitable relief;

7            c.       that Plaintiffs’ bringing of and conduct in this case was exceptional pursuant to 15

8                     U.S.C. §1117(a);

9            d.       awarding Defendants’ reasonable attorneys’ fees and costs, and

10           e.       for such other and further relief as shall be deemed proper.

11
                                                    Respectfully Submitted,
12
     DATED: January 6, 2020                         LEXANALYTICA, PC
13

14                                                  By:

15
                                                    Attorneys for Defendants
16                                                  ONLINENIC, INC. and DOMAIN ID SHEILD
                                                    SERVICE CO., LIMITED
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